       Case 7:22-cv-00046-DC         Document 58      Filed 07/14/25     Page 1 of 40




                    IN THE UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF TEXAS
                          MIDLAND-ODESSA DIVISION

                                               §
MICHAEL DEAN GONZALES,                         §
                                               §     CIVIL NO. MO:22-cv-0046-DC
Plaintiff,                                     §
                                               §
v.                                             §
                                                     DEATH PENALTY CASE
                                               §
TRAVIS BRAGG,                                  §
District Attorney Pro Tem, Ector County;       §
                                               §
MICHAEL GERKE, Chief,                          §
Odessa Police Department;                      §
                                               §
FREEMAN MARTIN, Director,                      §
Texas Department of Public Safety;             §
                                               §
Defendants.                                    §


              PLAINTIFF’S CONSOLIDATED RESPONSE IN OPPOSITION
                     TO DEFENDANTS’ MOTIONS TO DISMISS


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             Case 7:22-cv-00046-DC                         Document 58                  Filed 07/14/25                Page 2 of 40




                                                      TABLE OF CONTENTS

TABLE OF AUTHORITIES .......................................................................................................... ii
Contents




CONSOLIDATED RESPONSE IN OPPOSITION TO DEFENDANTS’ MOTIONS TO
DISMISS ..........................................................................................................................................1
LEGAL STANDARD ......................................................................................................................1
ARGUMENT ...................................................................................................................................2
I.         Gonzales has standing to sue in light of recent Supreme Court precedent. ............................2
                       Gonzales has standing to seek injunctive relief. ..................................................... 4
                       Gonzales has standing to seek declaratory judgment. ............................................ 7
II.        There is no Rooker-Feldman bar. ...........................................................................................8
III.       Defendant Martin is not immune from suit under the Eleventh Amendment.........................8
                       Texas law gives DPS particular duties to enforce Chapter 64’s statutory
                       scheme................................................................................................................... 11
                       Martin has demonstrated his willingness to enforce his duty. .............................. 14
                       Martin enforces Chapter 64 by constraining Gonzales’s access to evidence
                       for DNA testing absent a court order. ................................................................... 15
IV. Defendant Gerke is a proper defendant. ...............................................................................16
                       As a preliminary matter, this Court must give effect to Gerke’s prior
                       admissions that he has custody of evidence and denied Gonzales access to
                       it. ........................................................................................................................... 17
                       Gerke’s new arguments for dismissal under Rule 12(b)(6) fail. ........................... 18
                       Gonzales has sufficiently pled Gerke’s liability in his official capacity. ............. 19
                       Alternatively, Gonzales requests leave to amend the complaint to correct
                       the alleged defect. ................................................................................................. 21
V.         Gonzales has stated a claim on which relief may be granted. ..............................................22
                       Gonzales’s as-applied procedural due process claim should survive the
                       motion to dismiss. ................................................................................................. 23
                       The Fifth Circuit’s decision in Reed does not control Gonzales’s as-
                       applied due process challenge to the rules applied in his case. ............................ 29
                       Gonzales’s other claims should survive a motion to dismiss. .............................. 30
PRAYER ........................................................................................................................................30
CERTIFICATE OF SERVICE ......................................................................................................32




                                                                           i
          Case 7:22-cv-00046-DC                       Document 58               Filed 07/14/25             Page 3 of 40




                                               TABLE OF AUTHORITIES

                                                                                                                               Page(s)

Cases

Air Evac EMS, Inc. v. Tex. Dep’t Ins., Div. of Workers’ Comp.,
    851 F.3d 507 (5th Cir. 2017) .................................................................................11, 13, 15, 16

Armstrong v. Manzo,
   380 U.S. 545 (1965) .................................................................................................................27

Ashcroft v. Iqbal,
   556 U.S. 662 (2009) ...................................................................................................................2

Baker v. RR Brink Locking Sys., Inc.,
   721 F.3d 716 (5th Cir. 2013) .....................................................................................................7

Bell Atl. Corp. v. Twombly,
    550 U.S. 544 (2007) .....................................................................................................1, 2, 3, 19

Bouie v. City of Columbia,
   378 U.S. 347 (1964) .................................................................................................................28

City of Austin v. Paxton,
    943 F.3d 993 (5th Cir. 2019) ...............................................................................................9, 10

Conner v. Tex. Court of Criminal Appeals,
   481 F. App’x 952 (5th Cir. 2012) ..............................................................................................6

Crane v. Kentucky,
   476 U.S. 683 (1986) .................................................................................................................25

Dist. Attorney’s Off. for Third Jud. Dist. v. Osborne,
   557 U.S. 52 (2009) .......................................................................................................23, 28, 29

Dombrowski v. Pfister,
  380 U.S. 479 (1965) ...................................................................................................................5

Edionwe v. Bailey,
   860 F.3d 287 (5th Cir. 2017) ...................................................................................................22

Ex parte Elizondo,
   947 S.W.2d 202 (Tex. Crim. App. 1996).................................................................................30

Ford v. Wainwright,
   477 U.S. 399 (1986) ...........................................................................................................25, 26



                                                                    ii
          Case 7:22-cv-00046-DC                       Document 58               Filed 07/14/25             Page 4 of 40




Gonzales v. State,
   No. AP-77,104, 2022 WL 663806 (Tex. Crim. App. Mar. 3, 2022) .................................24, 25

Gutierrez v. Saenz,
   565 F. Supp. 3d 892 (S.D. Tex. 2021) ...............................................................................24, 30

Gutierrez v. Saenz

     145 S. Ct. 2258 (2025) ..................................................................................................... passim

Gutierrez v. Saenz,
   93 F.4th 267 (5th Cir. 2024) ......................................................................................................3

Hall v. State,
   569 S.W.3d 646 (Tex. Crim. App. 2019).................................................................................27

Holberg v. State,
   425 S.W.3d 282 (Tex. Crim. App. 2014).................................................................................27

Hutto v. Finney,
   437 U.S. 678 (1978) ...................................................................................................................5

Johnson v. City of Shelby, Miss.,
   574 U.S. 10 (2014) ...................................................................................................................20

Johnson v. Griffin,
   69 F.4th 506 (8th Cir. 2023) ..............................................................................................10, 14

Johnson v. Johnson,
   385 F.3d 503 (5th Cir. 2004) ...............................................................................................2, 10

Jones v. Flowers,
   547 U.S. 220 (2006) .................................................................................................................27

Jones v. Greninger,
   188 F.3d 322, 324 (5th Cir. 1999) ...........................................................................................18

K.P. v. LeBlanc,
   627 F.3d 115 (5th Cir. 2010) .............................................................................................11, 15

Kyles v. Whitley,
   514 U.S. 419 (1995) .................................................................................................................19

Leal v. State,
   303 S.W.3d 292 (Tex. Crim. App. 2009).................................................................................27

Littell v. Houston ISD,
    894 F.3d 616 (5th Cir. 2018) .............................................................................................20, 23


                                                                    iii
          Case 7:22-cv-00046-DC                       Document 58               Filed 07/14/25             Page 5 of 40




Mathews v. Eldridge,
   424 U.S. 319 (1976) .................................................................................................................27

McCreary v. Richardson,
  738 F.3d 651 (5th Cir. 2012) ...................................................................................................17

McLin v. Twenty-First Jud. Dist.,
  79 F.4th 411 (5th Cir. 2023) ......................................................................................................2

Mi Familia Vota v. Ogg,
   105 F.4th 313 (5th Cir. 2024) ......................................................................................10, 11, 15

Milliken v. Bradley,
   433 U.S. 267 (1977) ...................................................................................................................5

Mitchum v. Foster,
   407 U.S. 225 (1972) ...................................................................................................................4

Monacelli v. City of Dallas, Tex.,
  No. 24-10067, 2024 WL 4692025 (5th Cir. Nov. 6, 2024) .....................................................20

Moye v. Clerk, DeKalb County Superior Court,
  474 F.2d 1275 (5th Cir. 1973) ...................................................................................................6

Ochoa v. Collier,
   802 F. App’x 101 (5th Cir. 2020) ..........................................................................................6, 7

Pena v. State,
   353 S.W.3d 797 (Tex. Crim. App. 2011).................................................................................19

Piotrowski v. City of Houston,
   237 F.3d 567 (5th Cir. 2001) ...................................................................................................20

Ramirez v. State,
   621 S.W.3d 711 (Tex. Crim. App. 2021).................................................................................27

Reed v. Goertz,
   136 F.4th 535 (5th Cir. 2025) .......................................................................................... passim

Reed v. Goertz,
   598 U.S. 230 (2023) ......................................................................................................... passim

Reed v. State,
   541 S.W.3d 759 (Tex. Crim. App. 2017).................................................................................27

Russell v. Knight,
   488 F.2d 96 (5th Cir. 1973) .......................................................................................................6



                                                                    iv
          Case 7:22-cv-00046-DC                       Document 58               Filed 07/14/25             Page 6 of 40




Skinner v. Switzer,
    562 U.S. 521 (2011) ......................................................................................................... passim

Smith v. State,
   165 S.W.3d 361 (Tex. Crim. App. 2005).................................................................................27

Spiller v. City of Texas City,
    130 F.3d 162 (5th Cir. 1997) ...................................................................................................20

Spokeo, Inc. v. Robins,
   578 U.S. 330 (2016) ...................................................................................................................2

State v. Patrick,
    86 S.W.3d 592 (Tex. Crim. App. 2002).............................................................................12, 14

Texas Democratic Party v. Abbott,
   978 F.3d 168 (5th Cir. 2020) ...................................................................................................11

Texas v. Biden,
   10 F.4th 538 (5th Cir. 2021) ......................................................................................................4

United States v. Cluff,
   857 F.3d 292 (5th Cir. 2017) ...................................................................................................30

United States v. Lanier,
   520 U.S. 259 (1997) .................................................................................................................28

Washington v. Texas,
  388 U.S. 14 (1967) ...................................................................................................................25

Webster v. City of Houston,
  735 F.2d 838, 842 (5th Cir. 1984) ...........................................................................................21

In re Winship,
    397 U.S. 358 (1970) .................................................................................................................28

Wood v. Patton,
  2025 WL 629282 (W.D. Tex., Feb. 19, 2025) ...........................................................................7

Wood v. Patton,
  130 F.4th 516 (5th Cir. 2025) ....................................................................................................7

Wood v. Patton,
  No. 24-6727, 2025 WL 1787689 (U.S. 2025) .........................................................................19

Ex parte Young,
   209 U.S. 123 (1908) .................................................................................................9, 10, 11, 13



                                                                    v
           Case 7:22-cv-00046-DC                        Document 58                Filed 07/14/25              Page 7 of 40




Constitutional Provisions

U.S. Const. amend. XI .....................................................................................................................9

U.S. Const. amend. XIV ..........................................................................................................23, 28

Statutes

42 U.S.C. § 1983 .................................................................................................................... passim

Fed. R. Civ. P. 8(a)(2) ......................................................................................................................2

Fed. R. Civ. P. 12 .................................................................................................................2, 17, 18

Fed. R. Civ. P. 12(b) ......................................................................................................................18

Fed. R. Civ. P. 12(b)(1)................................................................................................................2, 9

Fed. R. Civ. P. 12(b)(6)..................................................................................................2, 17, 18, 23

Fed. R. Civ. P. 12(c) ..................................................................................................................2, 18

Fed. R. Civ. P. 15 ...........................................................................................................................22

Fed. R. Civ. P. 15(a)(2) ..................................................................................................................22

Act of Apr. 5, 2001, ch. 2, 2001 Tex. Sess. Law Serv (S.B. 3). ....................................................12

Tex. Code Crim. Proc. art. 2A.102 ................................................................................................14

Tex. Code Crim. Proc. art. 2A.104(b)(2) .......................................................................................14

Tex. Code Crim. Proc. art. 11.071, § 5(a)(1) .................................................................................30

Tex. Code Crim. Proc. art. 11.071, § 5(a)(2) .................................................................................30

Tex. Code Crim. Proc. art. 11.071, § 5(a)(3) .................................................................................30

Tex. Code Crim. Proc. art. 38.35 .............................................................................................14, 16

Tex. Code Crim. Proc. art. 38.35(b) ........................................................................................12, 13

Tex. Code Crim. Proc. art. 38.43 .......................................................................................14, 16, 18

Tex. Code Crim. Proc. art. 38.43(c)(2)(A) ....................................................................................12

Tex. Code Crim. Proc. art. 64 ................................................................................................ passim

Tex. Code Crim. Proc. art. 64.02 .............................................................................................14, 18


                                                                      vi
          Case 7:22-cv-00046-DC                       Document 58               Filed 07/14/25             Page 8 of 40




Tex. Code Crim. Proc. art. 64.03(a)(1)(C) .....................................................................................24

Tex. Code. Crim. Proc. art. 64.03(a)(2)(A) .............................................................................24, 29

Tex. Code Crim. Proc. art. 64.03(c)(1) ..........................................................................................13

Tex. Code Crim. Proc. art. 64.03(e) ...............................................................................................13

Tex. Code Crim. Proc. art. 64.035 .................................................................................................13

Tex. Penal Code art. 7.02 ...............................................................................................................24

Ark. Code Ann. § 16-112-201-208 ................................................................................................10

Other Authorities

Brief for Respondents, Gutierrez v. Saenz, 145 S. Ct. 2258 (2025) (No. 23-7809) ........................4

City of Odessa, Crime Scene Unit, Odessa Police Department,
    https://www.odessa-tx.gov/543/Crime-Scene-Unit .................................................................21

City of Odessa, Odessa Police Department,
    https://www.odessapd.com/381/Police ....................................................................................21

Tex. Dep’t Public Safety, Crime Laboratory Division Manual,
   https://txdpslabs.qualtraxcloud.com/ShowDocument.aspx?ID=67475 ...................................15




                                                                   vii
       Case 7:22-cv-00046-DC           Document 58        Filed 07/14/25      Page 9 of 40




  CONSOLIDATED RESPONSE IN OPPOSITION TO DEFENDANTS’ MOTIONS TO
                             DISMISS

       Plaintiff Michael Dean Gozales is a Texas death row prisoner who is seeking DNA testing

to allow him to show his innocence of the crime he was convicted of and entitlement to a new trial.

Texas extends a right to Gonzales and other prisoners to obtain DNA testing of evidence collected

in their case. But Gonzales has been unable to vindicate that right because those procedures have

become traps that ensnare potentially innocent individuals, rather than reasonable guardrails on a

meaningful remedy.

       Gonzales has sued the custodians of the evidence who deny him access to the evidence for

DNA testing—the Ector County District Attorney who prosecuted his case, the Chief of Police of

the Odessa Police Department that investigated his case, and the Director of the Department of

Public Safety that conducted the only DNA testing in this case—alleging violations of his consti-

tutional rights under 42 U.S.C. § 1983, seeking declaratory and injunctive relief to give effect to

the remedy he has been denied. See Am. Compl., ECF No. 23.

       The Defendants Freeman Martin, Travis Bragg, and Michael Gerke have moved to dismiss

the complaint, alleging various defenses. Martin Mot. to Dismiss (MTD), ECF No. 52; Bragg

MTD, ECF No. 53; Suppl. to Bragg MTD, ECF No. 55; Gerke 2nd MTD, 1 ECF 54. Gonzales

through this consolidated response now opposes these motions and urges the Court to deny the

motions for the reasons set forth below.

                                      LEGAL STANDARD

       To defeat a motion to dismiss, a complaint need only state “enough facts to state a claim

to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). These

factual allegations, accepted as true and viewed in the light most favorable to the nonmoving party,


       1
           Gerke has filed a previous motion to dismiss and an answer. See ECF Nos. 24, 25.


                                                 1
       Case 7:22-cv-00046-DC            Document 58        Filed 07/14/25       Page 10 of 40




need only “be enough to raise a right to relief above the speculative level.” Id. at 555; see also

Ashcroft v. Iqbal, 556 U.S. 662 (2009). The question for a court considering a Rule 12(b)(6) motion

is not whether the plaintiff will ultimately prevail, but instead “whether his complaint [is] sufficient

to cross the federal court’s threshold.” Skinner v. Switzer, 562 U.S. 521, 529-30 (2011) (citation

omitted). In order to cross the federal court’s threshold, the complaint need “not [be] a model of

the careful drafter’s art,” nor need it “pin plaintiff’s claim for relief to a precise legal theory.” Id.

at 530. To be sufficient, a complaint must simply state a “plausible ‘short and plain’ statement of

the plaintiff’s claim, not an exposition of his legal argument.” Id. (citation omitted); Fed. R. Civ.

P. 8(a)(2). A motion for judgment on the pleadings under Rule 12(c) is subject to the same standard

as a motion to dismiss under Rule 12(b)(6). Johnson v. Johnson, 385 F.3d 503, 529 (5th Cir. 2004).

        A motion attacking the subject matter jurisdiction of the court under Rule 12(b)(1) places

the burden of proof on the party asserting jurisdiction, that is, the plaintiff. McLin v. Twenty-First

Jud. Dist., 79 F.4th 411, 415 (5th Cir. 2023). “When a Rule 12(b)(1) motion is filed with other

Rule 12 motions, the court first considers its jurisdiction.” Id.

                                            ARGUMENT

        The Defendants’ attempts to defeat this Court’s jurisdiction under Rule 12(b)(1) are mer-

itless and Gonzales has made sufficient factual allegations to defeat the motions to dismiss made

under Rule 12(b)(6). For the reasons that follow, each of the Defendants’ motions to dismiss must

therefore be denied.

I.      Gonzales has standing to sue in light of recent Supreme Court precedent.

        To establish Article III standing, a plaintiff “must have (1) suffered an injury in fact, (2)

that is fairly traceable to the challenged conduct of the defendant, and (3) that is likely to be re-

dressed by a favorable judicial decision.” Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016).




                                                   2
       Case 7:22-cv-00046-DC           Document 58        Filed 07/14/25     Page 11 of 40




       Defendant Bragg now makes two standing arguments, neither of which has merit. 2 First,

without disputing injury-in-fact or traceability, Bragg claims that Gonzales’s injury is not redress-

able because the injunctive remedy Gonzales seeks is “essentially” a writ of mandamus that the

Court lacks power to issue. Bragg MTD at 4. Second, Bragg maintains that Gonzales’s request for

declaratory relief is also not redressable because it is beyond the Court’s authority, even after a

recent Supreme Court decision to the contrary. Suppl. to Bragg MTD at 2.

       There is no question that Gonzales meets the standing requirements for declaratory and

injunctive relief as to Defendants Bragg, Martin, and Gerke. The Supreme Court has now rejected

standing arguments in two related cases brought by Texas death-row plaintiffs alleging unconsti-

tutional denial of access to DNA testing under Texas’s Chapter 64 remedy. Reed v. Goertz, 598

U.S. 230, 234 (2023), and Gutierrez v. Saenz, 145 S. Ct. 2258, 2262-65 (2025). The reasoning of

those cases governs here.

       First, like the plaintiffs in Reed and Gutierrez, Gonzales “sufficiently alleged an injury in

fact: denial of access to the requested evidence.” Gutierrez, 145 S. Ct. at 2266 (quoting Reed, 598

U.S. at 234).

       Second, Gonzales has also alleged that Bragg, Martin, and Gerke deny access to the evi-

dence in their custody, control, or possession, and “thereby cause[ ] [Gonzales]’s injury.’” Id.

(quoting Reed, 598 U.S. at 234). At this stage, those allegations must be treated as true. Twombly,

550 U.S. at 55.

       Third, Gonzales’s injury is redressable by a declaratory judgment—and even more so, by

an injunction—against the defendants: “if a federal court concludes that Texas’s post-conviction

DNA testing procedures violate due process” and issues a declaratory judgment, “that court order



       2
           Neither Martin nor Gerke raise Article III standing as a ground for dismissal.


                                                  3
       Case 7:22-cv-00046-DC         Document 58        Filed 07/14/25      Page 12 of 40




would eliminate the state prosecutor’s justification for denying DNA testing and thereby remove

the barrier between [Gonzales] and the requested DNA testing.” Gutierrez, 145 S. Ct. at 2266

(quoting Reed, 598 U.S. at 234).

       Critically, Gutierrez held that Reed’s standing analysis applies not just to prosecutors, but

also to other custodians of the evidence who deny access to evidence for testing, like the police

chief who was sued in Gutierrez’s case and was a respondent before the Supreme Court. Id. There,

as here, the police chief’s own lawyers from the Office of the Attorney General refused to draw a

distinction between the redressability analysis as it applied to the chief and as it applied to the

prosecutor. Brief of Respondents Saenz and Sauceda at 21 n.5, Gutierrez, 145 S. Ct. 2258 (stating

that redressability problems “apply equally to” Police Chief Felix Sauceda). The same would be

equally true for Defendants Martin and Gerke.

       An injunction ordering the release of evidence is even surer than a declaratory judgment to

redress Gonzales’s injury. See, e.g., Tex. v. Biden, 10 F.4th 538, 548 (5th Cir. 2021) (finding an

injunction ordering federal officials to reinstate immigration policy “would remedy [plaintiff]

Texas’s injury”). Whereas “a prosecutor might eventually find another reason . . . to deny a pris-

oner’s request for DNA testing” without violating a declaratory judgment, Gutierrez, 145 S. Ct. at

2268, an injunction compelling release of the evidence would remove any doubt.

               Gonzales has standing to seek injunctive relief.

       Bragg’s first argument must fail, because it flouts this Court’s power to issue injunctions

against state officers under 42 U.S.C. § 1983 and ignores the holding of Skinner v. Switzer, 562

U.S. 521, 534 (2011).

       “Congress plainly authorized the federal courts to issue injunctions in § 1983 actions, by

expressly authorizing a ‘suit in equity’ as one of the means of redress.” Mitchum v. Foster, 407

U.S. 225, 242 (1972) (quoting 42 U.S.C. § 1983). This Court’s equitable power under § 1983 is


                                                4
       Case 7:22-cv-00046-DC            Document 58         Filed 07/14/25          Page 13 of 40




necessarily “broad and flexible.” Milliken v. Bradley, 433 U.S. 267, 288 (1977). It includes the

power to compel state actors to take affirmative actions to remedy ongoing constitutional viola-

tions, subject to traditional restraints on equitable authority. Id. at 279-81. 3

        In Skinner v. Switzer, the Supreme Court recognized a federal court’s authority to issue an

injunction ordering a district attorney to allow access to evidence for DNA testing under 42 U.S.C.

§ 1983. 562 U.S. at 534. Like here, the Skinner plaintiff alleged a violation of procedural due

process arising from limits on access to Chapter 64 and (unlike Reed and Gutierrez) requested

injunctive relief against the district attorney compelling release of evidence for DNA testing. Id.

at 529. The Supreme Court granted certiorari to decide whether “a convicted state prisoner seeking

DNA testing of crime-scene evidence assert that claim in a civil rights action under 42 U.S.C. §

1983” or instead in federal habeas. Id. at 524. The Court held that Skinner “properly invoked §

1983” for his claim for injunctive relief. Id. at 534. Skinner necessarily determined that an injunc-

tion against a state actor compelling access to evidence for DNA testing is a proper exercise of the

federal court’s authority under § 1983.

        If Bragg’s mandamus theory were right, Skinner’s holding would be reduced to an advisory

opinion. It is telling that Bragg fails to even discuss Skinner’s holding, let alone explain why he

thinks it should be overruled.




        3
          The question whether this Court has remedial authority is unrelated to the ultimate ques-
tion whether Bragg or any other defendant should be enjoined. The latter determination cannot be
made until the court has considered the nature and scope of the violation and weighed other equi-
table principles, including the Defendants’ voluntary compliance to cure the violation. See Dom-
browski v. Pfister, 380 U.S. 479, 497 (1965) (“The precise terms and scope of the injunctive relief
to which appellants are entitled and the identity of the appellees to be enjoined cannot, of course,
be determined until after the District Court conducts the hearing on remand.”); Hutto v. Finney,
437 U.S. 678, 687 n.9 (1978) (recognizing equitable principle that “state and local authorities have
primary responsibility for curing constitutional violations”).


                                                    5
       Case 7:22-cv-00046-DC            Document 58        Filed 07/14/25       Page 14 of 40




        The only Fifth Circuit precedent Bragg cites, Moye v. Clerk, DeKalb Cty. Super. Ct., 474

F.2d 1275 (5th Cir. 1973), is clearly distinguishable from Gonzales’s § 1983 lawsuit. In Moye, the

Fifth Circuit dismissed a pro se prisoner’s attempt to have the federal court order a state district

clerk provide him transcripts pursuant to a request for their production under state law in an active

state criminal appellate proceeding. The short, per curiam decision held that “a federal court lacks

the general power to issue writs of mandamus to direct state courts and their judicial officers in

the performance of their duties where mandamus is the only relief sought.” Id. at 1276.

        Moye does not apply here. Unlike the prisoner in Moye, Gonzales is (1) proceeding under

42 U.S.C. § 1983; (2) seeking a prospective injunction, not mandamus; (3) raising a violation of a

federal constitutional right, not a purported state law violation of a request for transcripts; (4) suing

state executive officials, not “state courts and their judicial officers”; and (5) not actively interfer-

ing in a pending state court proceeding (as addressed in Part II concerning Rooker–Feldman be-

low). The Fifth Circuit has distinguished Moye on these bases before. See Russell v. Knight, 488

F.2d 96, 97 (5th Cir. 1973) (distinguishing Moye because prisoner’s suit could be construed as

habeas action claiming violation of constitutional right); Conner v. Tex. Crim. App., 481 F. App’x

952, 953 (5th Cir. 2012) (citing Moye but recognizing that pro se prisoner’s claim for relief could

be treated as a “cognizable” constitutional “denial-of-access-to-the-courts claim” under § 1983).

        To bolster his argument, Bragg improperly cites two non-precedential cases that did not

even address his mandamus theory directly. These cases cannot be understood to represent the law

of the circuit or to have intentionally expanded the limited holding of Moye. 4




        4
         Bragg improperly cites Ochoa v. Collier, 802 F. App’x 101 (5th Cir. 2020), as though it
were precedent. Ochoa is an unpublished, per curiam decision in which the court reviewed the
denial of a stay of execution (not a dismissal of the underlying action) on an emergency basis two
days before the plaintiff’s execution. Id. at 104. The court took only a cursory look at the state’s


                                                   6
       Case 7:22-cv-00046-DC            Document 58       Filed 07/14/25      Page 15 of 40




          Because Bragg’s mandamus theory lacks support in the cases cited, and directly contradicts

the Supreme Court’s ruling in Skinner, his standing argument as to injunctive relief should be

denied.

                 Gonzales has standing to seek declaratory judgment.

          Bragg originally raised a separate standing argument—that Gonzales had failed the redress-

ability prong as to his request for declaratory relief. Bragg MTD at 5-7. As stated above, the Su-

preme Court rejected that redressability argument in Gutierrez v. Saenz. Even after Gutierrez,

Bragg maintains that Gonzales’s request for a declaratory judgment fails the redressability prong.

He claims Gonzales is seeking a remedy this court cannot grant by directly attacking the state court

judgment in an as-applied challenge. Bragg Suppl. MTD at 2.

          Bragg is mistaken about two things: First, the Supreme Court has recognized that plaintiffs

have standing to bring “as-applied” challenges to Chapter 64’s procedures. See Reed v. Goertz,

136 F.4th 535, 542 (5th Cir. 2025) (recognizing Reed brought “as-applied” challenge); Reed, 598

U.S. at 234 (holding Reed has standing to sue). Bragg cites no case to support his view.

          Second, Reed and Skinner also foreclose Bragg’s mischaracterization of Gonzales’s com-

plaint as a “direct” attack on the state court judgment. As explained in the next Part, Gonzales does

“‘not challenge the adverse’ state-court decisions themselves, but rather ‘targets as unconstitu-

tional the Texas statute they authoritatively construed.’” Reed, 598 U.S. at 235 (quoting Skinner,

562 U.S. at 532). See Part II (addressing Rooker-Feldman).


jurisdictional defenses to determine whether the plaintiff’s claim was likely to succeed and whether
the district court had abused its discretion in denying a stay. Id.
        Similarly, Judge Pitman’s decision in Wood v. Patton soundly rejected a mandamus argu-
ment made by the local prosecutor against declaratory relief. 2025 WL 629282, at *11 (W.D. Tex.,
Feb. 19, 2025). But the court’s incidental suggestion that an order to compel DNA testing—relief
the plaintiff there did not seek—might be improper was “clearly non-binding dictum unrelated to
the issue addressed by the decision of the court.” Baker v. RR Brink Locking Sys., Inc., 721 F.3d
716, 721 (5th Cir. 2013) (citation omitted).


                                                   7
        Case 7:22-cv-00046-DC          Document 58       Filed 07/14/25      Page 16 of 40




        Under binding precedent, again, Bragg’s second standing argument should be denied.

II.     There is no Rooker-Feldman bar.

        Bragg further asserts that Gonzales’s claim for relief is barred under the “Rooker-Feldman”

doctrine. Bragg MTD at 6-7. The Supreme Court’s decision in Reed explains why Bragg’s argu-

ment lacks merit: The Rooker-Feldman “doctrine prohibits federal courts from adjudicating cases

brought by state-court losing parties challenging state-court judgments. But as th[e] Court ex-

plained in Skinner, even though a ‘state-court decision is not reviewable by lower federal courts,’

a ‘statute or rule governing the decision may be challenged in a federal action.’” 598 U.S. at 235

(quoting Skinner, 562 U.S. at 532). Consequently, Skinner and Reed held that the plaintiffs did

“‘not challenge the adverse’ state-court decisions themselves, but rather ‘targets as unconstitu-

tional the Texas statute they authoritatively construed.’” Id. (quoting Skinner, 562 U.S. at 532).

        The same is true of Gonzales’s allegations. Gonzales does not seek a different result under

Texas law; in fact, his suit assumes that the CCA correctly and authoritatively rendered its decision

construing Texas law. See Am. Compl. ¶ 165. He now complains of the constitutional infirmity of

the procedures conditioning access to testing under Chapter 64, in light of Texas law, including as

construed in the CCA’s ruling in Gonzales’s case.

        Bragg does not even cite an offending line in the complaint that places Gonzales’s case in

a different category than Reed, Skinner, or Wood whose suits have survived this meritless objec-

tion. Bragg’s motion must be denied.

III.    Defendant Martin is not immune from suit under the Eleventh Amendment.

        Director Martin raises only one defense in his motion to dismiss under Rule 12(b)(1)—that

he is immune from suit under the Eleventh Amendment. Martin MTD at 1-5. 5


        5
            No other defendant raises a defense of sovereign immunity under the Eleventh Amend-
ment.


                                                 8
       Case 7:22-cv-00046-DC           Document 58        Filed 07/14/25      Page 17 of 40




       Martin is not immune from suit because he falls within the exception to sovereign immun-

ity recognized by Ex parte Young, 209 U.S. 123 (1908). Under Young, a plaintiff may sue for

federal constitutional violations seeking prospective injunctive relief against state officers. Id. at

159-60. Young requires the state officer to have “some connection with the enforcement of” the

challenged law, in order to avoid “merely making him a party as a representative of the state, and

thereby attempting to make the state a party.” Id. at 157.

       In Reed, the Supreme Court concluded that the local prosecutor fell within Young’s excep-

tion and was not immune from suit. 598 U.S. at 235. Although the Court did not elaborate on its

reasoning, it necessarily rejected the prosecutor’s argument that he lacked sufficient connection to

the enforcement of Chapter 64. See id. at 248, 254 & n.7 (Thomas, J., dissenting) (noting prosecu-

tor’s invocation of Young’s “some connection” language).

       Reed’s standing analysis explains the Court’s rationale for rejecting sovereign immunity.

As this Circuit has explained, the standing and Young analyses “‘significantly overlap.’” City of

Austin v. Paxton, 943 F.3d 993, 1002 (5th Cir. 2019) (quoting Air Evac EMS, Inc. v. Tex. Dep’t

Ins., Div. of Workers’ Comp., 851 F.3d 507, 520 (5th Cir. 2017)). According to the Reed Court,

the prosecutor caused the plaintiff’s injury by “den[ying] access to the evidence” in his custody

and control, unless he obtained a Chapter 64 order. Reed, 598 U.S. at 234. A ruling for the plaintiff

would increase the likelihood that the prosecutor would “grant access to the requested evidence

and that Reed therefore ‘would obtain relief that directly redresses the injury suffered.’” Id. (quot-

ing Utah v. Evans, 536 U.S. 452, 464 (2002)). Reed’s standing conclusion “at the minimum . . .

tend[ed] toward a finding that the Young exception applies.” Paxton, 943 F.3d at 1002.




                                                  9
       Case 7:22-cv-00046-DC           Document 58       Filed 07/14/25      Page 18 of 40




       The only Court of Appeals to examine a crime lab director’s sovereign-immunity defense

in an action challenging a state DNA testing procedure echoed Reed’s standing analysis and re-

jected immunity. In Johnson v. Griffin, 69 F.4th 506 (8th Cir. 2023), a death-sentenced prisoner

alleged that he was unconstitutionally denied access to testing under the Arkansas DNA testing

statute and sought an injunction to compel DNA testing from the prosecuting attorney, attorney

general, and state crime laboratory director. The defendants raised sovereign immunity defenses,

claiming no connection to the enforcement of the Arkansas DNA testing statute. 6 Id. at 511. The

Eighth Circuit held they were not entitled to immunity. Id. at 513. The court concluded that the

state crime lab director had “a sufficient connection because [he] possess[es] and control[s] evi-

dence that [the prisoner] seeks to test, and [has] refused to provide it to him.” Id. at 513. Johnson

did not find a meaningful difference between the connection of the Reed prosecutor to the enforce-

ment of the Texas DNA statute and the “similar circumstances” of the state crime lab director who

allegedly denied the prisoner’s access to evidence for testing. Id.

       For the same reasons as Reed and Johnson, Martin has a sufficient connection to the en-

forcement of Chapter 64 against Gonzales.

       Applying the “guideposts” that the Fifth Circuit uses to examine whether a defendant has

a sufficient connection under Young leads to the same result: Martin is susceptible to suit. Mi

Familia Vota v. Ogg, 105 F.4th 313, 325 (5th Cir. 2024) (quoting Tex. All. for Retired Ams. v.

Scott, 28 F.4th 669, 672 (5th Cir. 2022)). 7




       6
         Arkansas’ DNA testing statute lays out similar procedures, requirements, and burdens as
Chapter 64. See Ark. Code Ann. § 16-112-201 through -208.
       7
         Martin misrepresents Fifth Circuit precedent as providing a three-prong “test,” each ele-
ment of which Gonzales must supposedly establish. Martin MTD at 3. In fact, the Fifth Circuit
recognizes that its “decisions are not a model of clarity on what constitutes a sufficient connection
to enforcement,” Mi Familia Vota, 105 F.4th at 325 (quoting Texas Democratic Party v. Abbott,


                                                 10
       Case 7:22-cv-00046-DC           Document 58        Filed 07/14/25      Page 19 of 40




               Texas law gives DPS particular duties to enforce Chapter 64’s statutory
               scheme.

       The first guidepost is whether the state officer has a particular duty to enforce—that is,

more than a general duty to follow the law. Texas Democratic Party v. Abbott, 978 F.3d 168, 181

(5th Cir. 2020).

       Whether an officer has a particular duty to enforce will depend on the form of enforcement.

Enforcement for purposes of Gonzales’s lawsuit involves constraining or denying access to evi-

dence for DNA testing in a state official’s possession unless and until the prisoner obtains a court

order through the unconstitutional Chapter 64 procedure. See Reed, 598 U.S. at 234 (denial of

access to evidence is the relevant injury); K.P. v. LeBlanc, 627 F.3d 115, 124 (5th Cir. 2010)

(“‘Enforcement’ typically involves compulsion or constraint.” (emphasis added)). The form of

enforcement does not need to look like the “direct enforcement” at issue in Young, threatened civil

and criminal prosecution. Air Evac EMS, Inc. v. Tex., Dep't of Ins., Div. of Workers’ Comp., 851

F.3d 507, 519 (5th Cir. 2017). A state officer’s role in constraining a plaintiff’s access to benefits

by giving effect to a challenged statute will be sufficient to establish a connection to enforcement

when that constraint “ensures [a statutory] scheme is enforced from start to finish.” Id.

       For an officer’s particular duty to enforce to qualify, the challenged statute does not need

to vest specific, let alone special, enforcement authority in the officer. See, e.g., Nat’l Press Pho-

tographers Ass’n v. McCraw, 90 F.4th 770, 786 (5th Cir. 2024) (finding state agency heads, in-

cluding DPS Director, had a particular duty to enforce because “[a]s heads of Texas law-enforce-

ment agencies, [defendants] have more than just the general duty to see that the state’s laws are

implemented—they are directly responsible for enforcing Texas’s criminal laws”).



961 F.3d 389, 400 n.21 (5th Cir. 2020)), and so uses the term “guideposts” deliberately to reflect
ambiguity in the circuit’s law.


                                                 11
       Case 7:22-cv-00046-DC           Document 58        Filed 07/14/25       Page 20 of 40




       Texas law provides particular duties to Texas DPS, the Odessa Police Department, and the

prosecutor’s office which enforce Chapter 64’s exclusive remedy. First, all three are entities re-

quired by Texas law to “retain[ ] and preserve[ ]” “biological evidence” until Gonzales’s death.

Tex. Code Crim. Proc. art. 38.43(c)(2)(A); id. art. 38.43(b) (applying provision to crime labs, law

enforcement agencies, and prosecutor’s offices). 8 Gonzales is only entitled to seek DNA testing

of that evidence through the Chapter 64 mechanism. State v. Patrick, 86 S.W.3d 592, 595 (Tex.

Crim. App. 2002) (plurality op.) (Texas courts are “without jurisdiction” to enter orders for post-

conviction DNA testing except under Chapter 64). By contrast, “[a] law enforcement agency, pros-

ecutor, or court”—but not a convicted person—“may request a forensic analysis by a crime labor-

atory of physical evidence if the evidence was obtained in connection with the requesting entity’s

investigation or disposition of a criminal action and the requesting entity: (1) controls the evidence;

(2) submits the evidence to the laboratory; or (3) consents to the analysis.” Tex. Code Crim. Proc.

art. 38.35(b). These laws place a duty on the custodians of biological evidence to refuse Gonzales

the right to have evidence from his case tested for DNA absent a court order.

       Chapter 64 also directly imposes particular duties on DPS to carry out its remedial scheme.

First, when a court grants a motion for DNA testing, the court may order the DNA testing “be

conducted by the Department of Public Safety.” Tex. Code Crim. Proc. art. 64.03(c)(1). Then, if

DPS does not test the evidence, “the convicting court . . . shall forward the results” prepared by

another lab to DPS within 30 days. Id. art. 64.03(e). Finally, the court must “order any unidentified

DNA profile to be compared with the DNA profiles in: . . . (2) the DNA database maintained by




       8
         Chapter 64 must be read in tandem with this closely related provision, which the Texas
Legislature enacted into law in the same statute, S.B. 3, that codified the right to DNA testing. Act
of Apr. 5, 2001, ch. 2, 2001 Tex. Sess. Law Serv. (S.B. 3) (West) (establishing procedures for the
preservation of evidence containing DNA and post-conviction DNA testing).


                                                  12
       Case 7:22-cv-00046-DC           Document 58        Filed 07/14/25      Page 21 of 40




the Department of Public Safety.” Id. art. 64.035. Therefore, these provisions establish that DPS

has a particular duty to enforce Chapter 64—from preserving evidence, to conducting tests, to

maintaining databases for facilitating comparisons. See Air Evac, 851 F.3d at 519.

       Taking Gonzales’s allegations as true, Martin has custody and control of evidence Gonza-

les would seek to access and test, Am. Compl. ¶¶ 1, 11, 60, and denies access to or testing of that

evidence except under a court order under Chapter 64, id. ¶¶ 1, 2, 7, 180. Additionally, Texas DPS

tested evidence at the direction of the Odessa police when the police reopened their investigation

in 2000. Id. ¶ 56. Those allegations are sufficient to show Martin has “some connection” to the

enforcement of Chapter 64. See Young, 209 U.S. at 157.

       Moreover, Martin’s own argument confirms his connection to enforcement of Chapter 64.

He avers (without citing to all of the relevant statutes) that his agency may test evidence either “at

the behest of local authorities” or else when it is “court-ordered” to do so. Martin MTD at 5; see

Tex. Code Crim. Proc. art. 38.35(b).

       Martin relies on the logical fallacy that, because courts have recognized prosecutors as

proper defendants, then only prosecutors may be proper defendants. Martin MTD at 3-4. Yet Mar-

tin’s non sequitur is disproven by the Supreme Court’s recognition of standing to sue the police

chief in Gutierrez, 145 S. Ct. at 2262, and Johnson’s holding that a crime lab director enjoyed no

sovereign immunity, 69 F.4th at 513.

       Contrary to Martin’s reading of the statute, Article 64.02 does not confer upon the “attorney

for the state”—here, the district attorney pro tem 9— “specific[ ]” and “exclusive[ ]” authority to

enforce Chapter 64’s requirements. Martin MTD at 4. The “attorney for the state” merely has a




       9
        See Tex. Code Crim. Proc. art. 2A.102 (district attorney’s duties); id. art. 2A.104(b)(2)
(temporary appointment of attorney for state).


                                                 13
       Case 7:22-cv-00046-DC          Document 58        Filed 07/14/25     Page 22 of 40




duty to respond to a DNA motion by retrieving evidence that the movant seeks to have tested and

delivering it to the court or saying why he cannot. Tex. Code Crim. Proc. art. 64.02(a)(2). But that

limited responsibility does not give him power to consent to testing beyond Chapter 64’s require-

ments. See Patrick, 86 S.W.3d at 594. The prosecutor’s retrieval of evidence does not alter the

duty of any other entity required to retain evidence under Tex. Code Crim. Proc. art. 38.43. It also

does not alter a law enforcement agency’s authority to request forensic DNA testing of evidence.

Tex. Code Crim. Proc. art. 38.35(b); cf. Am. Compl. ¶¶ 56-57 (alleging OPD reopened its investi-

gation of the murder and submitted evidence for DNA testing based on).

       Martin’s narrow focus on Article 64.02 also ignores the comprehensive enforcement

scheme that Chapter 64 establishes, which imposes several particular duties on DPS, enumerated

above. The prosecutor’s duty to respond is better understood as reflecting his role as just another

custodian of evidence. See Gutierrez, 145 S. Ct. at 2266 (referring to Reed prosecutor as “custodian

of [the] evidence”); id. at 2264 (describing Cameron County district attorney as officer “who has

custody of the evidence Gutierrez would like tested and whose office prosecuted [him]”). That

different entities may have distinct but concurrent responsibilities regarding the same evidence

merely demonstrates that enforcement authority is distributed across multiple actors, rather than

concentrated exclusively in the attorney for the state. See Gutierrez, 145 S. Ct. at 2266; Skinner,

562 U.S. at 534.

               Martin has demonstrated his willingness to enforce his duty.

       The next guidepost is “demonstrated willingness to enforce” the statute. Mi Familia Vota,

105 F.4th at 329. Gonzales does not need to point to a historical instance of enforcement or threat-

ened enforcement. See Air Evac, 851 F.3d at 519. Nevertheless, Martin’s own representation that

“DPS could not independently grant the relief Gonzales requests if it wanted to,” Martin MTD at

5, demonstrates his willingness to enforce Chapter 64 in precisely the manner that the Supreme


                                                14
       Case 7:22-cv-00046-DC         Document 58        Filed 07/14/25      Page 23 of 40




Court has deemed relevant and problematic: by denying him access to the evidence absent a court

order under Chapter 64. See Reed, 598 U.S. at 234. DPS’s written policy further demonstrates its

willingness to enforce Chapter 64’s exclusive remedy by prohibiting release of evidence under its

control for “defense examinations without a valid court order.” Tex. Dep’t Public Safety, Crime

Laboratory     Division    Manual     10.4(C),    https://txdpslabs.qualtraxcloud.com/ShowDocu-

ment.aspx?ID=67475.

               Martin enforces Chapter 64 by constraining Gonzales’s access to evi-
               dence for DNA testing absent a court order.

       Finally, courts look for signs of “compulsion or constraint”—hallmarks of enforcement—

in the officer’s duties and actions. K.P., 627 F.3d at 124. Martin’s ongoing denial of Gonzales’s

access to evidence is a constraint that causes Gonzales’s injury here. See Reed, 598 U.S. at 234.

       The Fifth Circuit has found state officers subject to Young’s exception to sovereign im-

munity in similar circumstances even when there was no “direct” enforcement. In K.P., “the board

members’ reliance on the abortion statute to deny liability protection qualified as enforcement.”

Air Evac, 851 F.3d at 519 (citing K.P., 627 F.3d at 125). In Air Evac, the court examined whether

the state insurance commissioner and state workers’ compensation commissioner enforced the

Texas Worker’s Compensation Act through rate-setting and arbitration decisions that applied the

challenged law. 851 F.3d at 519. The court held that those “state defendants obviously constrain

[the plaintiff]’s ability to collect more than the maximum-reimbursement rate under the TWCA

system” and “effectively ensure the maximum-reimbursement scheme is enforced from start to

finish.” Id. DPS effectively ensures enforcement of the Chapter 64 scheme through its constraint

on access to evidence for testing.

       Martin thus has sufficient connection to the enforcement of the post-conviction DNA test-

ing regime under Chapter 64.



                                                 15
       Case 7:22-cv-00046-DC          Document 58       Filed 07/14/25      Page 24 of 40




IV.    Defendant Gerke is a proper defendant.

       Defendant Gerke is the Chief of the Odessa Police Department, the law enforcement

agency that was responsible for the investigation of the capital murders for which Gonzales stands

convicted and that now has physical possession of the majority of the evidence that Gonzales seeks

to have tested. See Am. Compl. ¶¶ 32-35 (describing collection of evidence by OPD during inves-

tigation). Gerke has been sued in his official capacity as the head of OPD, which, as a matter of

law and policy, denies Gonzales access to evidence for testing and has caused his injury. See Reed,

598 U.S. at 234.

       OPD is responsible for retaining and preserving the crime scene evidence it collected dur-

ing its investigation in this case. Tex. Code Crim. Proc. art. 38.43. Texas law empowers OPD to

order forensic analysis of its evidence at any time. Tex. Code Crim. Proc. art. 38.35(b).

       As Gonzales alleged, the OPD previously submitted its evidence for additional testing by

DPS in 2000. Am. Compl. ¶¶ 56-57 (describing OPD’s submission of evidence after it reopened

investigation). Gonzales further alleged that, in 2022, the supervisor of the OPD crime scene unit

took photographs of the evidence in their possession and conducted additional examination of a

key item Gonzales sought to have tested. Am. Compl. ¶¶ 91-94.

       In May 2022, Gerke filed an answer to the amended complaint “subject to” his Rule 12

motion (ECF No. 24) and then filed what he called a motion to dismiss and, in the alternative, a

motion for a more definite statement (ECF No. 25).

       Raising new arguments, Gerke now purports to move a second time to dismiss after he

already filed his answer. He maintains that he is not the proper defendant to be sued and is a

complete “stranger” to Gonzales’s suit, Gerke 2ndMTD at 7, so the claims against him must be

dismissed under Rule 12(b)(6). Gerke’s arguments are contradicted by Gerke’s own prior admis-

sions and lack merit.


                                                16
       Case 7:22-cv-00046-DC           Document 58        Filed 07/14/25      Page 25 of 40




               As a preliminary matter, this Court must give effect to Gerke’s prior
               admissions that he has custody of evidence and denied Gonzales access
               to it.

       Because Gerke has previously moved to dismiss and answered the amended complaint, this

Court must determine the effect of that prior motion and responsive pleading on its consideration

of Gerke’s second motion to dismiss.

       First, Gerke is bound by his admissions in his answer which admitted his custody over

certain evidence Gonzales seeks to test and his denial of Gonzales’s access to it. See McCreary v.

Richardson, 738 F.3d 651, 659 n.5 (5th Cir. 2012), as revised (Oct. 9, 2013) (“This circuit has

long noted that factual statements in pleadings constitute binding judicial admissions.”). In his

answer, Gerke admitted the truth of Paragraph 6 through 11 of Gonzales’s amended complaint.

See generally ECF No. 24. He therefore admitted that he “has custody of certain evidence desig-

nated below,” Am. Compl. ¶ 10, and denied or refused access to requested evidence in his posses-

sion, id. ¶ 7. Although statements made in a motion to dismiss may not carry the same binding

effect, Gerke’s first motion to dismiss underscores that Gerke’s admissions were not inadvertent.

There, he disputed that OPD’s production of fingerprints and photos to Gonzales did not constitute

new evidence, stating that “the evidence that was sent to Plaintiff’s attorney was not new, but rather

photos of the evidence which had been in OPD’s custody for over twenty-five (25) years.” Gerke

1st MTD at 3 (emphasis added).

       Second, Gerke may not file a motion to dismiss after he filed an answer. See Fed. R. Civ.

P. 12(b) (a motion to dismiss must be made “before pleading”). At best, Gerke’s most recent mo-

tion might be treated as a second motion for judgment on the pleadings under Rule 12(c). See, e.g.,

Jones v. Greninger, 188 F.3d 322, 324 (5th Cir. 1999) (treating post-answer motion to dismiss as

motion under Fed R. Civ. P. 12(c)).




                                                 17
       Case 7:22-cv-00046-DC           Document 58        Filed 07/14/25       Page 26 of 40




        Third, the arguments Gerke made exclusively in his first Rule 12 motion (ECF No. 25) do

not withstand scrutiny: (1) Gerke enjoys no qualified immunity where Gonzales seeks injunctive

or declaratory relief, not damages, Gerke 1st MTD at 2; (2) his conclusory assertion that “none of

Plaintiff’s federal rights have been violated” misstates the standard for Rule 12(b)(6); and (3) his

argument that Gonzales stated non-cognizable state-law claims, is plainly disproven by the com-

plaint which seeks relief for violations of constitutional rights. Finally, his request for a more def-

inite statement is limited to the allegation that “Gerke withheld ‘newly discovered fingerprint ev-

idence.’” Id. at 5.

                Gerke’s new arguments for dismissal under Rule 12(b)(6) fail.

        In light of Gerke’s answer to the amended complaint, Gerke’s further arguments that he

lacks custody of the evidence are contradicted and meritless.

        Seeking to renege his admission of custody, he disputes that the police possess the evidence

on the empty formalism that Chapter 64 uses the term the “state.” Yet Chapter 64 assumes someone

other than the prosecutor has some of the evidence—that is why the prosecutor is told to retrieve

it. Tex. Code Crim. Proc. art. 64.02(a)(2). OPD is required to preserve the evidence it collected

during its investigation based on requirements from the same Texas statute that created Chapter

64. Tex. Code Crim. Proc. art. 38.43; see note 8, supra. Moreover, for due process purposes, courts

have rejected any shell game about the police being separate from “the State.” “‘[T]he State’ in-

cludes, in addition to the prosecutor, other lawyers and employees in his office and members of

law enforcement connected to the investigation and prosecution of the case.” Pena v. State, 353

S.W.3d 797, 810 (Tex. Crim. App. 2011) (emphasis added); accord Kyles v. Whitley, 514 U.S.

419, 437 (1995). Furthermore, this Court must take Gonzales’s specific allegations as true, includ-

ing that the police possess the evidence, control it, and deny him access to it. See Bell Atl. Corp.,




                                                  18
       Case 7:22-cv-00046-DC            Document 58         Filed 07/14/25       Page 27 of 40




550 U.S. at 555. Gerke fails to address the allegations that: OPD collected the evidence and pre-

served it; submitted it for testing before the 1995 trial; submitted it again to DPS for DNA testing

in 2000 based on its own reinvestigation; and took photographs of the evidence and examined it

in 2022. Am. Compl. ¶¶ 32-35, 56-57, 91-94. These allegations are more than adequate to show

that OPD exercises control of the evidence.

        Gerke supports his argument with two Fifth Circuit decisions about standing that the Su-

preme Court has reversed and vacated. Those decisions now undermine Gerke’s argument. Gerke

2nd MTD at 8 (citing Gutierrez v. Saenz, 93 F.4th 267, 272 (5th Cir. 2024), rev’d, 145 S. Ct. 2258

(2025); Wood v. Patton, 130 F.4th 516, 520-21 (5th Cir. 2025), cert. granted, judgment vacated

and remanded, No. 24-6727, 2025 WL 1787689, at *1 (U.S. June 30, 2025)). A prisoner has Ar-

ticle III standing to sue a police chief in his official capacity, where his department investigated

the prisoner’s case and is the custodian of at least some of the evidence the prisoner seeks to have

tested. Gutierrez, 145 S. Ct. at 2262 (citing Reed, 598 U.S. at 234); see also discussion in Part I.A,

supra (standing to sue).

                Gonzales has sufficiently pled Gerke’s liability in his official capacity.

        Finally, Gerke relies on an illegitimate heightened pleading standard to argue that Gonzales

has failed to specially allege a police department policy or custom that can establish Gerke’s role

in this official-capacity suit. Gerke 2nd MTD at 5, 8-9.

        To survive a motion to dismiss, “a complaint need not contain ‘detailed factual allegations’;

rather, it need only allege facts sufficient to ‘state a claim for relief that is plausible on its face.’”

Littell v. Houston ISD, 894 F.3d 616, 622 (5th Cir. 2018) (quoting Ashcroft, 556 U.S. at 678).

Accordingly, the Supreme Court has rejected heightened pleading standards for § 1983 claims




                                                   19
       Case 7:22-cv-00046-DC           Document 58        Filed 07/14/25       Page 28 of 40




against municipal officers sued in their official capacities. Id. (citing Leatherman v. Tarrant Cnty.

Narcotics Intell. & Coordination Unit, 507 U.S. 163, 164 (1993)). 10

       Gonzales satisfies his burden at this stage because he “stated simply, concisely, and di-

rectly” events that, he alleges, entitle him to injunctive and declaratory relief from Gerke. Johnson

v. City of Shelby, Miss., 574 U.S. 10, 12 (2014). That is, he has pled “factual content that allows

the court to draw the reasonable inference that the defendant is liable for the misconduct alleged.”

Monacelli v. City of Dallas, Tex., No. 24-10067, 2024 WL 4692025, at *1 (5th Cir. Nov. 6, 2024)

(quoting Ashcroft, 556 U.S. at 678).

       The relevant practice of the police department is the department’s refusal to provide access

to evidence for testing, which Gonzales has alleged. Am. Compl. ¶¶ 7, 10; see Reed, 598 U.S. at

234 (defining injury and causation for standing). Just as a policy or custom refusing access to

evidence for testing causes the injury for the purpose of Article III standing, Reed, 598 U.S. at 234,

it also must be understood to establish the “moving force” prong of Monell. See Piotrowski v. City

of Houston, 237 F.3d 567, 578 n.16 (5th Cir. 2001) (equating “moving force” prong with “causa-

tion”). And Gonzales identified Gerke in his official capacity because it is reasonable to infer that

as chief, he is the policymaker for his department. See Webster v. City of Houston, 735 F.2d 838,

842 (5th Cir. 1984), on reh’g, 739 F.2d 993 (5th Cir. 1984) (en banc). 11

       Gonzales will easily be able to prove Gerke’s liability for a department policy or custom

of refusing access to evidence for testing. OPD’s website makes a public record of relevant facts



       10
           The 1997 case Gerke cites, Spiller v. City of Texas City, 130 F.3d 162, 167 (5th Cir.
1997), relied on the pre-Leatherman circuit rule of heightened pleading, and thus does not correctly
describe Gonzales’s burden.
        11
           Gerke admitted that he “refus[es] . . . to provide the Plaintiff access to or testing of the
requested evidence.” Am. Compl. ¶ 7; Gerke Answer, ECF No. 24, at 2 (admitting ¶ 7). This
establishes that Gerke acts with authority over his department and is responsible for the depart-
ment’s refusal to provide Gonzales access to the requested evidence.


                                                  20
       Case 7:22-cv-00046-DC             Document 58     Filed 07/14/25      Page 29 of 40




necessary to establish Gerke’s liability for a department policy of retaining evidence and refusing

access to it for testing: “The Chief of Police serves as the chief administrator of the Odessa Police

Department, is responsible for policy development, control, supervision, and program implemen-

tation of this Department and is accountable for the effective delivery of police services to the

community.” City of Odessa, Odessa Police Department, https://www.odessapd.com/381/Police.

The OPD has a Crime Scene Unit whose technicians oversee “the care, custody and control of all

property and evidence recovered and generated during the investigation of a crime.” City of

Odessa, Crime Scene Unit, Odessa Police Department, https://www.odessa-tx.gov/543/Crime-

Scene-Unit (“Property & Evidence Technicians” tab). The Crime Scene Unit “preserve the evi-

dence until requested for analysis, courtroom proceedings or until the statute of limitations ex-

pires” and “[f]ollow[] procedures set forth in the Texas Criminal Code of Procedure” for the re-

lease and destruction of evidence. Id.

       Gonzales has therefore pled sufficient facts from which the Court could reasonably infer

that Gerke is liable in his official capacity. Gonzales will be able to prove Gerke’s liability at

summary judgment.

               Alternatively, Gonzales requests leave to amend the complaint to cor-
               rect the alleged defect.

       If the Court finds Gonzales’s complaint is technically defective for failing to plead suffi-

cient factual allegations regarding OPD’s policy or custom of refusing evidence, Gonzales would

respectfully request leave to amend his complaint to correct the deficiency. Fed. R. Civ. P.

15(a)(2).

       Gonzales would propose to amend his complaint by pleading the following specific alle-

gations: the police chief is the policymaker for the Odessa Police Department (OPD); OPD has a

Crime Scene Unit (CSU) that retains and preserves crime scene evidence, including biological



                                                 21
       Case 7:22-cv-00046-DC           Document 58        Filed 07/14/25      Page 30 of 40




evidence, in accordance with Texas law; OPD CSU has a written policy regarding the department’s

retention of crime scene evidence; OPD has a written policy restricting access to its ‘vault’ where

it keeps evidence; the written policy states that “inquiries made for other than law enforcement

purposes will not be allowed under any circumstances”; OPD CSU does not have a laboratory

capable of conducting DNA testing; OPD has a written policy or practice of refusing to submit

evidence for biological or other testing by a crime laboratory such as DPS when a case has been

closed; OPD retains discretion to reopen closed cases and to submit evidence for further forensic

analysis, including for DNA testing.

       It would be inconsistent with the liberal spirit of Rule 15 to deny amendment to address

this defense, raised for the first time by Gerke. Gonzales proposes specific allegations for a pro-

posed amendment that would cure any deficiency. His request is not dilatory, especially given the

procedural confusion Gerke has caused through his piecemeal, successive motions and responsive

pleadings, and the fact Gerke did not raise this issue until now—his fifth motion to dismiss or

answer. See Gerke 1st MTD, ECF No. 25; Gerke Answer, ECF No. 24; see also Gerke 1st MTD

to Orig. Compl., ECF No. 20; Gerke Answer to Orig. Compl., ECF No. 19; Edionwe v. Bailey,

860 F.3d 287, 294 (5th Cir. 2017) (holding that leave to amend is not required where movant fails

to apprise court of facts movant would plead in amended complaint to cure any deficiencies).

V.     Gonzales has stated a claim on which relief may be granted.

       Gonzales has raised four claims for relief in his amended complaint, alleging violations of

his constitutional rights to procedural due process in vindicating a right to a state-created liberty,

Am. Compl. ¶¶ 161-81 (Claim I); access to courts, id. ¶¶ 182-92 (Claim II); prohibition on cruel

and unusual punishment, id. ¶¶ 193-94 (Claim III); and equal protection, id. ¶¶ 195-99 (Claim IV).




                                                 22
       Case 7:22-cv-00046-DC            Document 58        Filed 07/14/25       Page 31 of 40




        Defendants Bragg and Gerke argue that Gonzales has not stated a claim on which relief

may be granted. 12 For the reasons that follow, Gonzales has met his burden at this stage to “allege

facts sufficient to ‘state a claim for relief that is plausible on its face.’” Littell, 894 F.3d at 622

(quoting Ashcroft, 556 U.S. at 678).

                  Gonzales’s as-applied procedural due process claim should survive the
                  motion to dismiss.

        Gonzales’s claim under the Due Process Clause has two elements: (1) “deprivation by state

action of a protected interest in life, liberty, or property,” and (2) “inadequate state process.” Reed,

598 U.S. at 236.

        Although the Supreme Court recognizes no “freestanding” substantive right to post-con-

viction access to evidence for DNA testing, Dist. Attorney’s Off. for Third Jud. Dist. v. Osborne,

557 U.S. 52, 72 (2009), states may “elect to confer such a right.” Reed v. Goertz, 136 F.4th 535,

543 (5th Cir. 2025) (citing Osborne, 557 U.S. at 67-68). And when states do create such a right,

the procedures for vindicating that right to access evidence for DNA testing must comport with

due process. Id.; Osborne, 557 U.S. at 68. A state’s post-conviction procedures will violate due

process if they are “fundamentally inadequate to vindicate the substantive rights provided.” Reed,

136 F.4th at 543 (quoting Osborne, 557 U.S. at 69).

        Texas has provided convicted persons a right to forensic DNA testing under Texas Code

of Criminal Procedure art. 64 (“Chapter 64”). Texas conditions the right to testing on meeting

several requirements. See Reed, 136 F.4th at 541 (enumerating statute’s requirements); Gonzales

v. State, No. AP-77,104, 2022 WL 663806, at *5 (Tex. Crim. App. Mar. 3, 2022) (same). Espe-

cially relevant here are two requirements: First, the court must find that “identity was or is an issue

in the case” before granting testing. Tex. Code Crim. Proc. art. 64.03(a)(1)(C). Second, the person


        12
             Martin has not raised a Rule 12(b)(6) defense.


                                                  23
         Case 7:22-cv-00046-DC          Document 58        Filed 07/14/25       Page 32 of 40




seeking testing must show that he “would not have been convicted if exculpatory results had been

obtained through DNA testing.” Id. art. 64.03(a)(2)(A). The CCA affirmed the denial of Gonza-

les’s DNA testing motion on these grounds. Gonzales, 2022 WL 663806, at *8-*10.

         Chapter 64’s procedures violate due process when they render access to state post-convic-

tion relief “illusory.” See Gutierrez v. Saenz, 565 F. Supp. 3d 892, 910 (S.D. Tex. 2021) (holding

“a bar on Chapter 64 DNA testing to demonstrate innocence of the death penalty renders [Texas

Code of Criminal Procedure] Article 11.071, § 5(a)(3) illusory.”). 13

         In particular, Gonzales’s case includes two rules that arbitrarily and unfairly restrict access

to Chapter 64 and defy due process as applied to his case and those similarly situated: (1) the

resentencing rule, Am. Compl. ¶¶ 174-76; and (2) the hypothetical party instruction rule, id.

¶¶ 177-78. The two rules are used to construe art. 64.03(a)(2)(A)’s exoneration requirement.

         The resentencing rule holds that a court should consider post-trial evidence presented dur-

ing a resentencing as a reason to deny testing under art. 64.03(a)(2)(A), even though that evidence

was not presented or considered by the jurors who convicted the defendant at the trial on guilt or

innocence. Gonzales v. State, 2022 WL 663806, at *10 n.11; Am. Compl. ¶ 174.

         The hypothetical party instruction rule holds that a defendant must show not only that he

would not have been convicted of the offense of capital murder as the jury was instructed in its

charge, but also that he would not have been convicted under a theory of accomplice liability (as

“party” to a capital murder committed by another, under Tex. Penal Code § 7.02), even though the

jury was not instructed on such a theory. Gonzales v. State, 2022 WL 663806, at *10; Am. Compl.

¶ 177.




         13
          The district court's constitutional holding has not been reviewed by an appellate court
yet. Gutierrez, 145 S. Ct. at 2269.


                                                   24
       Case 7:22-cv-00046-DC             Document 58        Filed 07/14/25      Page 33 of 40




          In a variation on the hypothetical party instruction rule, the CCA also concluded that Gon-

zales could not show “identity” was or is at issue because “DNA testing would not determine the

identity of the person who committed the offense” and the prosecution “did not foreclose the pos-

sibility that others were also involved in the crime” Gonzales, 2022 WL 663806, at *8.

          Gonzales has plausibly alleged facts sufficient to show that these rules violate due process

for at least four reasons.

          First, these rules are arbitrary. “The touchstone of due process is protection of the individ-

ual against arbitrary action of government.” Reed, 136 F.4th at 543 (quoting Wolff v. McDonnell,

418 U.S. 539, 558 (1974). The resentencing rule arbitrarily invites post-trial evidence from a pro-

ceeding directed at adjudging punishment to be considered as grounds against testing, while bar-

ring post-trial evidence in favor of testing that might affect a jury’s consideration of guilt. The

hypothetical party instruction rule permits the state to deliberately abandon a theory of accomplice

liability for an offense at trial and yet reap the rewards of the abandoned theory of the offense.

          In the trial context, when the government introduces evidence to support its position, it is

a fundamental feature of due process that defendants must have a meaningful opportunity to chal-

lenge that evidence and present contrary evidence of innocence. Washington v. Texas, 388 U.S.

14, 19 (1967) (“The right to offer the testimony of witnesses, and to compel their attendance, if

necessary, is in plain terms the right to present a defense”); Crane v. Kentucky, 476 U.S. 683, 690

(1986).

          The opportunity to answer the state’s evidence is not limited to trial rights; it is a feature

of the fundamental fairness of post-conviction procedures, too. In Ford v. Wainwright, 477 U.S.

399 (1986), the Court held that Florida’s post-conviction process for adjudicating competency to

be executed violated procedural due process. The Ford Court found that the procedure “invite[d]




                                                   25
       Case 7:22-cv-00046-DC           Document 58      Filed 07/14/25      Page 34 of 40




arbitrariness and error by preventing the affected parties from offering contrary medical evidence

or even from explaining the inadequacies of the State's examinations.” Id. at 424-25 (Powell, J.,

concurring); id. at 415 (plurality op.).

        Second, these rules are especially unfair as applied to Gonzales, whose jury was not given

the opportunity to consider accomplice liability and who was prevented from attacking his guilt

during his resentencing. At trial, the jury was instructed on one capital murder theory: “murdering

more than one person during the same criminal transaction.” Am. Compl. ¶ 52 (quoting direct

appeal opinion of CCA); Gerke Answer (admitting ¶ 52). “No parties charge was given in this

case.” Am. Compl. ¶ 52. “Therefore, the jury had to find appellant murdered both victims.” Id.

        In Gonzales’s resentencing, moreover, he was prohibited from introducing residual doubt

evidence that would challenge the State’s weak case on guilt and innocence. Am. Compl. ¶ 63.

This is especially remarkable since the police had initiated forensic DNA testing of much of the

physical evidence after Gonzales’s trial and the DPS crime lab generated new results that excluded

Gonzales as the contributor to any of the interpretable DNA on the evidence. Id. ¶¶ 56-62. Then,

after disabling Gonzales from presenting a challenge to the guilt evidence, the State proceeded to

present testimony from witnesses that significantly altered its theory of how the crime was com-

mitted. See id. ¶¶ 64-66. Gonzales was unable to introduce the exculpatory DNA results from the

State’s own testing. Therefore, under the circumstances of Gonzales’s case, his Chapter 64 motion

was doomed to fail for reasons that were beyond his control. He could not rebut a parties charge

that was not made at his trial. And he could not present an adequate defense against the State’s

additional evidence presented at his resentencing.

        It would be offensive enough to fundamental fairness if these rules had been applied in a

clear, prospective manner. But Gonzales could not have known in advance that his access to the




                                                26
       Case 7:22-cv-00046-DC           Document 58        Filed 07/14/25     Page 35 of 40




Chapter 64 remedy was a mirage, because no statute or court decision notified him that these ar-

bitrary rules existed until after they were applied in his case.

       Third, therefore, the way Texas announces Chapter 64’s procedural requirements defies

fundamental tenets of notice and an opportunity to be heard. See Jones v. Flowers, 547 U.S. 220,

226-38 (2006) (explaining that due process requires reasonable notice); Mathews v. Eldridge, 424

U.S. 319, 348 (1976) (“The essence of due process is the requirement that a person in jeopardy of

serious loss [be given] notice of the case against him and opportunity to meet it.”) (internal quota-

tion omitted); Armstrong v. Manzo, 380 U.S. 545, 550 (1965) (explaining that failure to provide

notice “violated the most rudimentary demands of due process of law”).

       The very existence of the resentencing and hypothetical party instruction rules was unfore-

seeable until the CCA announced them in its opinion affirming the denial of DNA testing in Gon-

zales’s case. CCA precedent had previously established that courts may not consider any post-trial

evidence in determining whether to grant a DNA motion. E.g., Ramirez v. State, 621 S.W.3d 711,

723 (Tex. Crim. App. 2021). 14 CCA precedent had also interpreted Chapter 64 provisions to reflect

how the jury was instructed and charged. See Leal v. State, 303 S.W.3d 292, 302 (Tex. Crim. App.

2009); Smith v. State, 165 S.W.3d 361 (Tex. Crim. App. 2005) (emphasizing that the exculpatory

nature of DNA results must pertain to the specific offense for which the individual is convicted).

       In fact, the district attorney pro tem argued that these were “new rules” that should be

placed in a published decision. Am. Compl. ¶¶ 160, 176 (resentencing rule is “a new rule of law

or a modification of the rule announced in” prior CCA decisions), 177 (“The State has located no




       14
         Accord Hall v. State, 569 S.W.3d 646, 656 (Tex. Crim. App. 2019); Reed v. State, 541
S.W.3d 759, 774 (Tex. Crim. App. 2017); Holberg v. State, 425 S.W.3d 282, 287 (Tex. Crim. App.
2014).


                                                  27
       Case 7:22-cv-00046-DC          Document 58        Filed 07/14/25      Page 36 of 40




other published opinion where [the CCA] relied on the ‘party or principal’ language . . . but where

a parties charge was not submitted to the jury.”).

       It is fundamentally unfair and violates due process when a state court expands or reinter-

prets procedural rules that depart sharply from established precedent and applies those changes

retroactively. See Bouie v. City of Columbia, 378 U.S. 347, 354 (1964) (“When a state court over-

rules a consistent line of procedural decisions with the retroactive effect of denying a litigant a

hearing in a pending case, it thereby deprives him of due process of law ‘in its primary sense of an

opportunity to be heard and to defend [his] substantive right.’”) (quoting Brinkerhoff-Faris Tr. &

Sav. Co. v. Hill, 281 U.S. 673, 681 (1930)); United States v. Lanier, 520 U.S. 259, 266 (1997).

       Fourth, these rules undermine bedrock guarantees of a fair trial. Texas’s Chapter 64 proce-

dure licenses the consideration of uncharged theories of liability and evidence that were not pre-

sented at a trial on a defendant’s guilt or innocence. This conflicts with the essence of Due Process

in criminal cases: “the Due Process Clause protects the accused against conviction except upon

proof beyond a reasonable doubt of every fact necessary to constitute the crime with which he is

charged.” In re Winship, 397 U.S. 358, 364-65 (1970). Osborne assumed that a state could enjoy

greater “flexibility” in its procedures precisely because a defendant already had a fair shot to “de-

mand that the government prove its case beyond reasonable doubt.” But “[o]nce a defendant has

been afforded a fair trial and convicted of the offense for which he was charged, the presumption

of innocence disappears.” Osborne, 557 U.S. at 68-69 (quoting Herrera v. Collins, 506 U.S. 390,

399 (1993)). The Texas procedures as applied to Gonzales upset that assumption.

       Gonzales has made sufficient factual allegations to support a plausible claim that the ex-

oneration requirement and identity requirement of Chapter 64 as applied to him and similarly sit-

uated individuals offend fundamental fairness and his right to due process of law.




                                                 28
       Case 7:22-cv-00046-DC           Document 58        Filed 07/14/25      Page 37 of 40




               The Fifth Circuit’s decision in Reed does not control Gonzales’s as-ap-
               plied due process challenge to the rules applied in his case.

       Bragg and Gerke argue the Court should dismiss the due process claim because it is “in-

distinguishable” from the Fifth Circuit’s Reed decision. Bragg MTD at 8; Gerke 2nd MTD at 9.

       In Reed, the Fifth Circuit examined Article 64.03(a)(2)(A)’s “exoneration requirement.”

136 F.4th at 546-48. According to the court, Reed challenged two features of the exoneration re-

quirement: (1) it does not treat DNA test results that would inculpate a third party as “exculpatory

results”; and (2) it “excludes consideration of post-trial factual developments.” Id. at 547. The

court found that Osborne had already found materiality requirements “permissible,” so Reed could

not sustain a facial challenge to the high bar Texas’s exoneration requirement imposed as a pre-

requisite for testing. Id. at 547. In conclusion, the court held that the claim was properly dismissed

because there was nothing fundamentally inadequate about the statute’s requirement on its face or

as applied to Reed. Id. at 548.

       Gonzales concedes that the aspects of his claim that concerned Article 64.03(a)(2)(A)’s

high standard for obtaining testing and exclusion of post-trial factual developments are now con-

trolled by Reed. See Am. Compl. ¶¶ 164-71. Yet Gerke and Bragg’s suggestions that Reed controls

the rest of Gonzales’s claim lack support. Reed did not touch the remaining allegations in Gonza-

les’s complaint, which must be reviewed on their own merit. See id. ¶¶ 173-80.

       Bragg admits that Gonzales challenged “new rules,” but says they are mere “artful plead-

ing.” Bragg MTD at 8. Bragg may not backtrack from what his predecessor already admitted: the

resentencing, hypothetical parties instruction were new rules. See Am. Compl. ¶¶ 160, 176, 177.

United States v. Cluff, 857 F.3d 292, 301 (5th Cir. 2017) (“Judicial estoppel prevents a party from

asserting a position in a legal proceeding that is contrary to a position previously taken in the same

or some earlier proceeding.”) (citation modified).



                                                 29
       Case 7:22-cv-00046-DC         Document 58       Filed 07/14/25      Page 38 of 40




       Gerke misreads Reed as somehow covering the issues Gonzales raises. Yet Reed could not

have addressed the as-applied challenge Gonzales raises, because those issues emerged in the

CCA’s 2022 opinion in Gonzales’s case and were not implicated by the facts of Reed’s case, in

which there was no resentencing and no allegation of another party with whom Reed might have

committed the murder. See Reed, 136 F.4th at 540 (summarizing facts of Reed’s offense and trial).

       At this stage, Gonzales has done enough to survive a motion to dismiss by plausibly alleg-

ing a due process violation.

               Gonzales’s other claims should survive a motion to dismiss.

       Gonzales’s remaining claims plausibly allege claims for relief. At a minimum, the district

court decision in Gutierrez shows that Gonzales could plausibly win relief on his theory that the

denial of access to Chapter 64 deprives him of access to the ability to secure habeas relief for a

claim of actual innocence under Tex. Code Crim. Proc. art. 11.071, §§ 5(a)(1), 5(a)(2); Ex parte

Elizondo, 947 S.W.2d 202 (Tex. Crim. App. 1996). See Gutierrez, 565 F. Supp. 3d at 910-11. See

Am. Compl. ¶¶ 182-92.

                                           PRAYER

       For the foregoing reasons, the Court should deny the Defendants’ motions.




                                               30
Case 7:22-cv-00046-DC   Document 58    Filed 07/14/25     Page 39 of 40




                             Respectfully submitted,

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                               31
      Case 7:22-cv-00046-DC         Document 58        Filed 07/14/25      Page 40 of 40




                               CERTIFICATE OF SERVICE

      I certify that a true and correct copy of the foregoing will be served on counsel for all De-

fendants using the CM/ECF system.

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                                               32
